    Case 2:12-cv-00859-LMA-MBN Document 1407 Filed 02/10/21 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                            CIVIL ACTION

VERSUS                                                           NO. 12-0859

MARLIN N. GUSMAN, ET AL.                                         SECTION: “I”


                  ORDER SCHEDULING STATUS HEARING

      A status hearing to receive testimony regarding Report No. 13 of the

Independent Monitors dated February 8, 2021 is SCHEDULED for Monday,

March 8, 2021 at 9:00 a.m. A Zoom for Government link will be circulated to

counsel of record via email.

      New Orleans, Louisiana, this 10th day of February, 2021.



                                      _____________________________________
                                            LANCE M. AFRICK
                                      UNITED STATES DISTRICT JUDGE
